      Case 1:00-cr-00199-WMS          Document 936      Filed 05/05/14    Page 1 of 2




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
____________________________________

UNITED STATES OF AMERICA

                v.                                              00-CR-199-S

JULIO NUNEZ,

                      Defendant.
____________________________________

                                           ORDER


          This Court has found that Defendant, Julio Nunez, was suffering from a mental
disease or defect rendering him unable to understand the nature and consequences of
the proceedings against him or to assist properly in his defense. (Docket No. 917.)
Thus, this Court, under 18 U.S.C. § 4241(d), ordered that Nunez be committed to the
custody of the Attorney General for hospitalization at a suitable treatment facility. The
director of that facility was ordered to determine whether there was a substantial
probability that, in the foreseeable future, the defendant would attain the capacity to
permit the proceedings to go forward.


          By letter dated January 10, 2014, and its enclosed forensic evaluation, this Court
was advised that a forensic evaluation was conducted at the Federal Medical Center at
Butner, North Carolina (FMC Butner). The director of the facility certified that there is not
a substantial probability that Nunez’s competency will be restored in the foreseeable
future.


          This Court, incorporating its previous rulings on this matter, and having reviewed
the forensic evaluation of Robert G. Lucking, M.D., and Angela Walden Weaver, Ph.D.,
(to which there is no opposition) then found that Nunez’s mental condition was not so
improved as to permit the proceedings to go forward. Indeed, this Court found that
Nunez was still not competent to understand the nature of the proceedings against him
      Case 1:00-cr-00199-WMS         Document 936       Filed 05/05/14    Page 2 of 2




or assist in his defense. It further found that there was not a substantial probability that,
in the foreseeable future, Nunez would attain the capacity to permit the proceedings to
go forward. (See Docket No. 931). Accordingly, this Court ordered, as required by 18
U.S.C. §§ 4246 and 4247(b) and (c), FMC Butner to determine if Nunez is “presently
suffering from a mental disease or defect as a result of which his release would create a
substantial risk of bodily injury to another person or serious damage to property of
another.” See 18 U.S.C. § 4246(a).


       FMC Butner conducted that evaluation. The FMC Butner medical professionals
assigned to the evaluation concluded that Nunez is “behaviorally stable” and is not “an
imminent risk for harm to himself or others.” (See Report, signed 4/25/14; Docket No.
935.) In short, the medical team found, in a conclusion authorized by the FMC Butner
warden, that Nunez did not meet the requirements for commitment set out in 18 U.S.C.
§ 4246.


       Based on these findings, the Government moved to dismiss the indictment. (See
Docket Nos. 928, 934.) At a conference in open court on April 29, 2014, this Court
found that Nunez is not “presently suffering from a mental disease or defect as a result
of which his release would create a substantial risk of bodily injury to another person or
serious damage to property of another” and GRANTED the Government’s motion.
Therefore,


       IT HEREBY IS ORDERED, that this case is DISMISSED.



SO ORDERED.

Dated: May 2, 2014
       Buffalo, New York


                                                       /s/William M. Skretny
                                                       WILLIAM M. SKRETNY
                                                             Chief Judge
                                                      United States District Court

                                             2
